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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 MILLIMAN, INC., MILLIMAN                        )
 SOLUTIONS, LLC, and VIGILYTICS                  )
 LLC,                                            )
                                                 )
                    Plaintiffs,                  )
                                                 )      Civil Action No. 1:21-cv-10865-NMG
                       vs.                       )
                                                 )
 GRADIENT A.I. CORP., STANFORD A.                )
 SMITH, and SAMUEL CHASE PETTUS,                 )
                                                 )
                    Defendants.                  )
                                                 )



                     MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                     MOTION TO COMPEL DISCOVERY RESPONSES

       Pursuant to Rule 37 of the Federal Rules of Civil Procedure and Local Rule 37.1, Plaintiffs

Milliman, Inc., Milliman Solutions, LLC (collectively, “Milliman”), and Vigilytics LLC

(“Vigilytics,” and together with Milliman, “Plaintiffs”) respectfully move to compel Defendants

Gradient A.I. Corp. (“Gradient”), Stanford A. Smith (“Smith”), and Samuel Chase Pettus

(“Pettus,” and, collectively with Gradient and Smith, “Defendants”) to provide substantive

responses to Plaintiffs’ First Set of Interrogatories (“Interrogatories”) and First Set of Requests for

Production ( “Requests”) served March 17, 2022 (collectively “Discovery Requests”).

                                    I.      INTRODUCTION

       Defendant Smith, after years at Milliman, Inc., left in 2018 to found Defendant Gradient

A.I. Corp., taking Pettus and a team of Milliman employees with him. Complaint (Dkt. #1), ¶ 1.

Unknown to Milliman at the time, Messrs. Smith and Pettus also took with them Milliman’s

proprietary information, with Mr. Smith even emailing himself copies of confidential, trade secret
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documents in his final days at Milliman. Id. at ¶¶ 2, 6. Defendants then deployed Milliman’s

proprietary information and patented technology, which Milliman licenses from Vigilytics LLC,

to enable Gradient, in two short years, to compete with Milliman in the health practice space. Id.

Plaintiffs’ suit followed, asserting twelve counts, including for six counts for patent infringement,

as well as counts for trade secret misappropriation, breach of contract, and unfair and deceptive

trade practices.

       Plaintiffs file this Motion because Defendants have refused to substantively respond to

virtually all of Plaintiffs’ Discovery Requests. Although trade secret claims account for just two

of the twelve counts of the Complaint, Defendants justify their obstructionist tactic on a flawed

reading of M.G.L. c. 93 § 42D (“§ 42D”), which requires Plaintiffs to “identify the trade secret

with sufficient particularity under the circumstances of the case to allow the court to determine the

appropriate parameters of discovery and to enable reasonably other parties to prepare their

defense.” This Court should reject Defendants’ attempt to stonewall discovery and order full and

complete responses for the following two reasons.

       First, Plaintiffs’ trade secret disclosure under § 42D (“§ 42D Disclosure”)1 reasonably

identifies the trade secrets misappropriated by Defendants for the purpose of discovery. See

Mirakl, Inc. v. VTEX Com. Cloud Sols. LLC, 544 F. Supp. 3d 146, 147 (D. Mass. 2021) (suggesting

a plaintiff can satisfy its obligations under § 42D by providing “file names for the documents it

alleges defendants misappropriated and which contain its trade secrets.”). Here, the § 42D

Disclosure sets forth the trade secrets at issue in this case and specifically identifies the documents




1
 Plaintiffs’ § 42D Disclosure and the documents identified therein as embodying the Milliman
Plaintiffs’ trade secrets and provided to Defendants’ counsel are attached as Exhibit A.

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taken by Defendants that Plaintiffs have been able to identify to date and therefore is more than

sufficient for purposes of the § 42D requirement.

       Second, even if Plaintiffs’ § 42D Disclosure were somehow inadequate, Plaintiffs are

entitled to discovery relevant to Plaintiffs non-trade secret claims, including Counts I-VI for patent

infringement, Count VII for breach of confidentiality agreements, and Count XII for violations for

M.G.L. c. 93A. See Mirakl, Inc., 544 F. Supp. 3d at 147 (ordering “defendants shall respond to

all discovery requests that do not require reference to a detailed trade secret list.”). Discovery

seeking information relevant to non-trade secret claims is not barred by the provision.

       In addition to their § 42D objection, Defendants object to other Discovery Requests based

on relevancy and the Court’s Scheduling Order. As addressed below, the Discovery Requests seek

information relevant to all of Plaintiffs’ claims, and fit within the proper scope of discovery.

Additionally, Plaintiffs’ Discovery Requests are not, as Defendants seek to paint them, attempts

to evade the Scheduling Order and obtain early non-infringement or invalidity contentions from

Defendants. Defendants made the strategic choice not only to assert numerous affirmative

defenses but also to file a twenty-one count counterclaim. The Discovery Requests seek the factual

basis of Defendants’ counterclaims and affirmative defenses. Plaintiffs are entitled to obtain that

information now.

       Finally, in response to a number of Interrogatories, Defendants rely on Fed. R. Civ. P. 33(d)

and point to “documents to be produced” (of which there have been none) that allegedly contain

the answers to those Interrogatories. Defendants’ reliance on Rule 33(d) is misplaced where they

have neither produced any documents, nor specified in any detail the records that contain the

answers to Plaintiffs’ Interrogatories.




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       Accordingly, Plaintiffs respectfully request that the Court overrule Defendants’ objections

and order Defendants to immediately (i) provide substantive responses to Interrogatories 1−6,

8−10, 12, and 13 and (ii) produce documents responsive to Requests 1−51, 53−54, and 56−64,

including all information regarding the design, development, implementation, use and licensing of

the Accused Products, including a full copy of their source code for the Accused Products, by June

10, 2022.

                                    II.     BACKGROUND

       On June 29, 2018, after six years as a practice leader at Plaintiff Milliman, Inc., Defendant

Smith purchased the gradient A.I. business from Milliman and used it to form a new company,

Defendant Gradient. Complaint (Dkt. #1), ¶ 75; see Exhibit A to Answer and Counterclaims of

Defendants (Dkt. #49-1). Milliman’s sale of the gradient A.I. business to Smith was targeted at

the workers’ compensation market, and specifically excluded intellectual property rights to

Milliman’s health practice, which the agreement defined as “Health Intellectual Property.” Id. at

1. Despite this fact, and in violation of Milliman’s licensed patents, trade secret rights and

confidentiality agreements with Defendants Smith and Pettus, Defendants now unlawfully

compete with Milliman in the health practice market using the excluded Health Intellectual

Property. Defendant Gradient’s offerings in the health practice market infringe on six patents

licensed exclusively by Milliman from Vigilytics and misappropriate Milliman’s Health

Intellectual Property.

       For example, after discovering Gradient’s entry into the health insurance market in early

2021, Milliman conducted an investigation that revealed on the eve of their departure Defendants

Smith and Pettus colluded to take and took confidential, trade secrets concerning Milliman’s health




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practice, which Defendants used to develop products now offered, unlawfully, to compete with

Milliman’s health practice.

       On March 17, 2022, after the Court denied Defendants’ Motion to Dismiss (Dkt. #43),

Plaintiffs served Discovery Requests on Defendants, seeking answers to thirteen interrogatories

and documents responsive to sixty-four requests relevant to the twelve Counts alleged in the

Complaint. The Discovery Requests seek information fundamental to all of Plaintiffs’ claims,

including specifically non-trade secret claims. For example, Interrogatories 1, 3 and 5, reproduced

below, seek information directly relevant to Plaintiffs patent infringement claims, Counts I-VI,

and the discovery sought by them is necessary for Plaintiffs to conduct potential third party

discovery and meet the July 21, 2022 preliminary infringement contention deadline:

       INTERROGATORY NO. 1:

              Identify each Person who used, licensed, purchased, or was offered any Accused
       Product by date of the act (e.g., [customer] purchased the [Accused Product] on [date]).

       INTERROGATORY NO. 3:

               Identify each Person involved in the design, development, coding, providing,
       supply, operation, hosting, or manufacturing of each Accused Product, in whole or in part,
       their job title(s) at the time and/or their role(s) in that design, development, coding,
       providing, supply, operation, hosting, or manufacturing.

       INTERROGATORY NO. 5:

              Describe in detail all research, design, and development processes undertaken by
       Gradient to enable it to develop the Accused Products, including identifying the dates over
       which the processes occurred, all Persons involved and at what times, and each source of
       information Gradient relied upon in developing the Accused Products.

See Exhibit B at 5, 6.

       Similarly, and for example, Requests 9 and 12, reproduced below, seek information

directly relevant to Plaintiffs patent infringement claims and the discovery is directly relevant to

Plaintiffs’ preliminary infringement contentions, the deadline for which is July 21, 2022.:



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       REQUEST NO. 9

                Produce all Documents and things Concerning the design, development,
       implementation operation, marketing, offer for sale and/or sale of the Accused Products,
       including all design, development, and source code implementation Documents, source
       code, and any Communications, correspondence, licenses, contracts, draft contracts or
       draft licenses Concerning any Accused Product.

       REQUEST NO. 12

               Produce all Documents and things, including any drawings, sketches, work logs,
       diaries, research, laboratory notebooks, engineering notebooks, source code archives or
       other evidence, Concerning the development of the Accused Products.

See Exhibit C at 5, 6.

       Plaintiffs’ other Discovery Requests, including Interrogatories 2, 4, 6, 8−10, and 12−13

and Requests 1−8, 10−11, 13−51, 53−54, and 56−64, discussed below and attached in Exhibit B

and C, also seek discovery relevant to Plaintiffs’ patent infringement, breach of confidentiality

agreement and 93A claims.

       On April 18, 2022, Defendants responded by objecting to virtually all the Discovery

Requests.2    Specifically, Defendants responded substantively to only two of thirteen

Interrogatories (Interrogatories 7 & 11). Those responses are limited to Defendants’ claim that

they became aware of the Asserted Patents on February 8, 2021 and that their responses were

prepared “with the advice of counsel, and with the assistance of Defendants Smith and Pettus.”

Similarly, Defendants agreed to produce responsive documents to only two of sixty-four Requests

(Requests 52 & 55), which seek documents obtained by subpoenas to third-parties (no such

subpoenas have been issued to date) and agreements to indemnify any Defendant (none of which

appears to exist). See Exhibit D at 11−12, 15; Exhibit E at 40, 42. In addition to their objections,



2
 Plaintiffs’ Interrogatories and Requests are attached as Exhibits B and C. Defendants’ Responses
are attached as Exhibits D and E.

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Defendants wrote to the Milliman Plaintiffs’ counsel on April 18, 2022, objecting to Plaintiffs’ §

42D Disclosure and refusing to produce “confidential documents and information concerning

Gradient’s health insurance underwriting platform” regardless of whether that information is

relevant to Plaintiffs other claims.

        Plaintiffs responded in writing, and the parties subsequently conferred by telephone

conference in an attempt to resolve the dispute. Defendants refused to provide any supplemental

interrogatory responses or produce any documents absent a supplemental § 42D Disclosure or a

determination by the Court that Plaintiffs’ § 42D Disclosure was sufficient. See generally Exhibit

F (Defendants characterizing “Plaintiffs’ trade secret disclosure is the principal gating issue to

further discovery.”)

        Defendants’ refusal to comply with their discovery obligations has and will continue to

prejudice Plaintiffs, by delaying Plaintiffs’ ability to fully review the Accused Products’

development and design documents and source code to abide by the Scheduling Order deadline

for Plaintiffs’ preliminary infringement contentions of July 21, 2022 and increasing the cost to

Plaintiffs of prosecuting this action.

                                         III.   ARGUMENT

   a.      Standard

        “Parties may obtain discovery regarding any non-privileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(a). Parties

are entitled to discovery of any matter that bears on, or that reasonably could lead to other matter

that could bear on, any issue that is or may be in the case” in the absence of

privilege. Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 350−51 (1978). If a party fails to

adequately respond to discovery requests, “the Court may, for good cause shown, order discovery




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of any matter relevant to the subject matter involved in a pending lawsuit.” Haemonetics Corp. v.

Baxter Healthcare Corp., 593 F. Supp. 2d 298, 301 (D. Mass. 2009).

         Massachusetts law requires that plaintiffs in state-law trade secret cases identify their trade

secrets prior to taking discovery related to that claim. M.G.L. c. 93, § 42D(b). In relevant part,

Massachusetts law provides that “[b]efore commencing discovery relating to an alleged trade

secret, the party alleging misappropriation shall identify the trade secret with sufficient

particularity under the circumstances of the case to allow the court to determine the appropriate

parameters of discovery and to enable reasonably other parties to prepare their defense.” Id.

Although § 42D was enacted relatively recently, courts analyzing a California statute that requires

early identification of trade secrets with “reasonable particularity” have held that:

         “‘[r]easonable particularity’ . . . does not mean that the party alleging
         misappropriation has to define every minute detail of its claimed trade secret at the
         outset of the litigation. . . . Rather, it means that the plaintiff must make some
         showing that is reasonable, i.e., fair, proper, just and rational, under all of the
         circumstances to identify its alleged trade secret in a manner that will allow the trial
         court to control the scope of subsequent discovery, protect all parties’ proprietary
         information, and allow them a fair opportunity to prepare and present their best case
         or defense at a trial on the merits.”
Advanced Modular Sputtering, Inc. v. Superior Ct., 33 Cal. Rptr. 3d 901, 908 (Cal. Ct. App. 2005)

(internal citation omitted). Furthermore, California courts have held a trade secret identification

“should be liberally construed, and reasonable doubts about its sufficiency resolved in favor of

allowing discovery to go forward.” Brescia v. Angelin, 90 Cal. Rptr. 3d 842, 852 (Cal. Ct. App.

2009).

   b.       Plaintiffs Have Satisfied Their M.G.L. c. 93 § 42D Obligations

         Notwithstanding the Plaintiffs’ timely and detailed disclosure referencing, among other

things, specific documents that the individual defendants emailed to themselves, Defendants’

stated basis for refusing to respond to Plaintiffs’ Discovery Requests is premised almost entirely



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upon an objection under M.G.L. c. 93 § 42D (“§ 42D”). Defendants take it upon themselves to

unilaterally deem the disclosure to be deficient (instead of moving for a protective order) and

invoke their § 42D objection in response to six of thirteen Interrogatories and forty-four of sixty-

four Requests.3

       In fact, Plaintiffs have met their obligations under § 42D and are entitled to discovery

related to their state-law trade secret claim. Courts in Massachusetts recognize that a plaintiff can

satisfy its obligations under § 42D by providing “file names for the documents it alleges defendants

misappropriated and which contain its trade secrets.” Mirakl, Inc. v. VTEX Com. Cloud Sols. LLC,

544 F. Supp. 3d 146, 147 (D. Mass. 2021). Plaintiffs have done just that. For example, Plaintiffs

§ 42D Disclosure identifies the trade secrets as including documents Defendant Smith forwarded

to himself on various dates. See Exhibit A.

       Thus, Plaintiffs’ trade secret identification provides adequate information to guide the

scope of discovery and to allow Defendants’ to prepare their defenses, including by identifying

documents containing the known misappropriated trade secrets and the dates on which Defendants

took them.4 At this early stage of the case, such identification is sufficient to allow Plaintiffs to

take discovery of Defendants as to all of their claims.

       Defendants’ argue that the “open-ended” nature of Plaintiffs’ trade secret identification,

namely its use of the word “including,” is improper. Plaintiffs’ trade secret identification is proper

given the early stage of this litigation, and the limited purpose of § 42D, which is to “allow the




3
  Specifically, Defendants invoke their § 42D objection in response to Interrogatories 1−6, and
Requests 1, 2, 4, 9−27, 32, 34−40, 42−48, 50, 56−60, and 64. See Exhibit C; Exhibit D.
4
  Plaintiffs have also offered to, and intend to, produce to Defendants the identified documents.
Those documents, however, are already in Defendants’ possession, and Plaintiffs’ § 42D
Disclosure is adequate without the production of documents. See Mirakl, Inc., 544 F. Supp. 3d at
147.

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court to determine the appropriate parameters of discovery and to enable reasonably other parties

to prepare their defense.” M.G.L. c. 93, § 42D(b). Plaintiffs are not required to limit their claims

at this early stage in the litigation, particularly where, as here, the Plaintiffs have pointed to emails

showing Defendants Smith and Pettus colluding to take confidential and trade secret information

and is at least plausible that Defendants took other materials. Identifying the emails and related

documents that Plaintiffs have already is more than sufficient to allow discovery to proceed,

particularly when those material are and have long been in Defendants’ possession.

    c.      Plaintiffs are Entitled to Discovery Notwithstanding M.G.L. c.93 § 42D

         Even if the Plaintiffs’ § 42D Disclosure were inadequate, that would not justify

Defendants’ attempt to stonewall discovery relevant to Plaintiffs’ other, non-state law trade secret

claims. Where a plaintiff has claims that are independent from the need to identify trade secrets

under § 42D, the plaintiff is entitled to discovery notwithstanding any deficiency of the trade secret

identification. See Mirakl, Inc., 544 F. Supp. 3d at 147 (ordering plaintiffs to provide file names

to satisfy § 42D, but recognizing “Plaintiff’s [state law trade secret] claim, however, is one over

several claims against defendants. . . .” and ordering that “[D]efendants shall respond to all

discovery requests that do not require reference to a detailed trade secret list.”). In Mirakl, the

plaintiff asserted claims for breach of contract, violation of the Massachusetts Trade Secrets Act,

violation of the Defend Trade Secrets Act, violation of the Computer Fraud and Abuse Act, breach

of loyalty/fiduciary duty, and tortious interference with contractual relations. See Complaint at

16−24, Mirakl, Inc. v. VTEX Com. Cloud Sols. LLC, No. 20-cv-11836 (D. Mass. Oct. 9, 2020),

ECF No. 1. Although the Mirakl court ordered the plaintiffs to identify their trade secrets by

providing file names, it also ordered defendants to respond to plaintiffs’ discovery requests that

did “not require reference to a detailed trade secret list.” The same result follows here.




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        Plaintiffs’ Complaint includes several claims that are not dependent upon or related to the

existence of a trade secret, including the patent infringement claims (Counts I−VI). Those claims

are wholly independent from the trade secret claims, as patent infringement does not require the

existence or misappropriation of a trade secret.

        Nor are Plaintiffs’ claims for breach of confidentiality agreements (Count VII), and

violations of M.G.L. c. 93A (Count XII) dependent upon the existence of a trade secret such that

§ 42D can bar discovery. See Monolithic Power Sys., Inc. v. Silergy Corp., No. 14-CV-01745-VC

(KAW), 2015 WL 5897719, at *3 (N.D. Cal. Oct. 9, 2015) (“While [plaintiff’s] breach of contract

claim relates to the alleged use of confidential information, the contract provision breached does

not mention trade secrets. . . . Defendants are required to answer [discovery requests] without the

benefit of [plaintiff] identifying the confidential information it believes was utilized in the breach

of the [agreement].”). Only where a claim is “is factually dependent on the misappropriation

allegation” does a state law requiring identification of a trade secret arguably implicate discovery

as to that claim. Advanced Modular Sputtering, Inc. v. Superior Ct., 33 Cal. Rptr. 3d 901, 907

(Cal. Ct. App. 2005). Here, Plaintiffs’ breach of confidentiality agreement M.G.L. c. 93A claims

are not factually dependent on a finding of misappropriation. Both claims are pled and can be

satisfied based on a finding that Defendants took the Milliman Plaintiffs’ confidential information,

without a finding that that information constitutes a trade secret. As such, Plaintiffs would be

entitled to discovery related to Counter I−VII and XII even if their § 42D Disclosure were

somehow deficient, which it is not.

   d.      The Court Should Overrule Defendants’ Remaining Objections

        In addition to their § 42D objection, Defendants raise a host of other unsupported

objections in their attempt to avoid responding to Plaintiffs’ Discovery Requests, including



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objections based on relevance and the Court’s Scheduling Order. See Exhibit D; Exhibit E.

Defendants also attempt to exercise their option under Fed. R. Civ. P. 33(d) to produce documents

rather than respond to Interrogatories. See id. Each of Defendants’ objections and their Rule 33(d)

“answers” are without merit, and the Court should order Defendants to substantively respond to

Plaintiffs’ Requests and Interrogatories.

      i.        Defendants’ Relevancy Objection

       Defendants object to providing responses to Interrogatories 1−5 and 12, and to producing

documents responsive to Requests 1−32, 34−38, 40−46, 49, and 56−64 on the basis that those

Interrogatories and Requests seek irrelevant information. See Exhibit D at 5−10, 15−16; Exhibit

E at 6−39, 43−48. As an initial matter, relevance is a low bar for purposes of discovery, and parties

are entitled to discovery of “any matter that bears on, or that reasonably could lead to other matter

that could bear on, any issue that is or may be in the case.” Oppenheimer, 437 U.S. at 350−51.

All of Plaintiffs’ Interrogatories and Requests are plainly relevant to the issues in this case, be they

Plaintiffs’ claims, or Defendants’ defenses and counterclaims.

       For example, Plaintiffs’ Interrogatories 1−5 and Requests 9−14, 16−27, 32, 34, 35, 38,

56−60, 64 and seek discoverable information related to the use, sales, revenue generated by,

design, development and coding of the Accused Products, as well as the entities and individuals

involved in those activities, which are relevant to at least Plaintiff patent infringement claims. See

Exhibit B at 5−6; Exhibit C at 5−10, 13−14. Plaintiffs’ Interrogatory 12 and Requests 2, 4, 36, 37,

61−63 seek discoverable information relevant to the Patents-in-Suit and alleged infringement of

the same. See Exhibit B at 7; Exhibit C at 4, 10, 14. Plaintiffs’ Requests 3, 5−8, 15, and 46 seek

discoverable information related to Defendants’ corporate structure, patents and patent

applications, document retention or destruction policies, and the relationship among the


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Defendants and with Plaintiffs. See Exhibit C at 4−7, 11. Such documents are relevant to the

sequestration, if any, of Milliman information at Gradient, Plaintiffs’ patent claims, the

development of the Accused Products, the identity of witnesses with knowledge of the same, and

the nature of Defendants’ patent infringement and misappropriation. Request 1 seeks discoverable

information related to Milliman Information in Defendants’ possession relevant to at least

Plaintiffs claims for trade secret misappropriation and breaches of confidentiality agreements. See

Exhibit C at 4. Plaintiffs’ Requests 28−31, 40−45, and 49 seek discoverable information relevant

to the basis of Defendants’ defenses and counterclaims. See Exhibit C at 9−12.

     ii.        Defendants’ Objection based on the Scheduling Order

       In response to Interrogatories 8, 12, and 13, and Requests 28−31, 40−45, and 49,

Defendants object to providing response and producing documents until “a time and manner

consistent with the Court’s Scheduling Order.” See Exhibit D at 12−13, 15−16; Exhibit E at 23−25,

31−36, 38−39.     Defendants’ objection misrepresents the information sought by the above

Interrogatories and Requests. Although the Court’s Scheduling Order (Dkt. 52) contains dates by

which Defendants are required to serve their invalidity and non-infringement contentions,

Interrogatories 8, 12, and 13, and Requests 28−31, 40−45, and 49 do not seek Defendants’

complete invalidity and non-infringement contentions at this time. Rather, the Requests and

Interrogatories seek the factual basis for Defendants’ counterclaims of invalidity and non-

infringement (Counterclaims X−XXI). Plaintiffs are entitled to discovery of this information.5




5
 To the extent Defendants lack a factual basis for their Counterclaims, they should be withdrawn.
Fed. R. Civ. P. 11(b).

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     iii.        Defendants’ Fed. R. Civ. P. 33(d) Option

        In response to Interrogatories 1−4 and 13, Defendants “refer Plaintiffs to the documents to

be produced in this action” rather than providing substantive responses, citing Fed. R. Civ. P.

33(d). See Exhibit D at 5−9, 16. Rule 33(d) allows a party to answer interrogatories by reference

to documents only where the responding party “specif[ies] the records that must be reviewed, in

sufficient detail to enable the interrogating party to locate and identify them as readily as the

responding party could.” Fed. R. Civ. P. 33(d)(1). Here, Defendants have failed to specify in any

detail documents that allegedly contain answers to Plaintiffs’ Interrogatories, instead referring

generally to all of the “documents to be produced.” Defendants’ reliance on Rule 33(d) is

particularly inappropriate in light of their refusal to respond to sixty-two of Plaintiffs’ sixty-four

Requests. Put another way, even if Plaintiffs were required to cull through all of the documents

Defendants have produced to find answers to their Interrogatories, they could not because

Defendants have refused to produce any documents. Defendants should be required to supplement

their responses to Interrogatories 1−4 and 13 to provide substantive answers to these

straightforward interrogatory requests.

                                      IV.     CONCLUSION

        Plaintiffs requests that this Court overrule Defendants objections and order Defendants to

provide substantive responses to Interrogatories 1−6, 8−10, 12, and 13, and produce documents

responsive to Requests 1−51, 53−54, and 56−64, including all information regarding the design,

development, implementation, use and licensing of the Accused Products and their source code by

June 10, 2022, and whatever other relief this Court deems just and proper.




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Dated: May 11, 2022                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                        /s/ Christopher Centurelli




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